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                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA




                 EXHIBIT 39
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        Hospitalization Rates and Characteristics of Patients Hospitalized with
      Laboratory-Confirmed Coronavirus Disease 2019 — COVID-NET, 14 States,
                                  March 1–30, 2020
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   On April 8, 2020, this report was posted as an MMWR Early                     as well as the general public. In addition, older adults and per-
Release on the MMWR website (https://www.cdc.gov/mmwr).                          sons with serious underlying medical conditions should avoid
   Since SARS-CoV-2, the novel coronavirus that causes                           contact with persons who are ill and immediately contact their
coronavirus disease 2019 (COVID-19), was first detected in                       health care provider(s) if they have symptoms consistent with
December 2019 (1), approximately 1.3 million cases have been                     COVID-19 (https://www.cdc.gov/coronavirus/2019-ncov/
reported worldwide (2), including approximately 330,000 in                       symptoms-testing/symptoms.html) (5). Ongoing monitoring
the United States (3). To conduct population-based surveil-                      of hospitalization rates, clinical characteristics, and outcomes
lance for laboratory-confirmed COVID-19–associated hospi-                        of hospitalized patients will be important to better understand
talizations in the United States, the COVID-19–Associated                        the evolving epidemiology of COVID-19 in the United States
Hospitalization Surveillance Network (COVID-NET) was                             and the clinical spectrum of disease, and to help guide planning
created using the existing infrastructure of the Influenza                       and prioritization of health care system resources.
Hospitalization Surveillance Network (FluSurv-NET) (4) and                          COVID-NET conducts population-based surveillance for
the Respiratory Syncytial Virus Hospitalization Surveillance                     laboratory-confirmed COVID-19–associated hospitaliza-
Network (RSV-NET). This report presents age-stratified                           tions among persons of all ages in 99 counties in 14 states
COVID-19–associated hospitalization rates for patients                           (California, Colorado, Connecticut, Georgia, Iowa, Maryland,
admitted during March 1–28, 2020, and clinical data on                           Michigan, Minnesota, New Mexico, New York, Ohio, Oregon,
patients admitted during March 1–30, 2020, the first month                       Tennessee, and Utah), distributed across all 10 U.S Department
of U.S. surveillance. Among 1,482 patients hospitalized with                     of Health and Human Services regions.§ The catchment area
COVID-19, 74.5% were aged ≥50 years, and 54.4% were                              represents approximately 10% of the U.S. population. Patients
male. The hospitalization rate among patients identified                         must be residents of a designated COVID-NET catchment area
through COVID-NET during this 4-week period was 4.6 per                          and hospitalized within 14 days of a positive SARS-CoV-2 test
100,000 population. Rates were highest (13.8) among adults                       to meet the surveillance case definition. Testing is requested
aged ≥65 years. Among 178 (12%) adult patients with data                         at the discretion of treating health care providers. Laboratory-
on underlying conditions as of March 30, 2020, 89.3% had                         confirmed SARS-CoV-2 is defined as a positive result by any
one or more underlying conditions; the most common were                          test that has received Emergency Use Authorization for SARS-
hypertension (49.7%), obesity (48.3%), chronic lung disease                      CoV-2 testing.¶ COVID-NET surveillance officers in each
(34.6%), diabetes mellitus (28.3%), and cardiovascular disease                   state identify cases through active review of notifiable disease
(27.8%). These findings suggest that older adults have elevated                  and laboratory databases and hospital admission and infection
rates of COVID-19–associated hospitalization and the major-                      control practitioner logs. Weekly age-stratified hospitaliza-
ity of persons hospitalized with COVID-19 have underlying                        tion rates are estimated using the number of catchment area
medical conditions. These findings underscore the importance                     residents hospitalized with laboratory-confirmed COVID-19
of preventive measures (e.g., social distancing, respiratory                     as the numerator and National Center for Health Statistics
hygiene, and wearing face coverings in public settings where                     vintage 2018 bridged-race postcensal population estimates
social distancing measures are difficult to maintain)† to protect                for the denominator.** As of April 3, 2020, COVID-NET
older adults and persons with underlying medical conditions,
                                                                                  § https://www.hhs.gov/about/agencies/iea/regional-offices/index.html.
* These authors contributed equally.                                              ¶ https://www.fda.gov/medical-devices/emergency-situations-medical-devices/
† https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/diy-cloth-         emergency-use-authorizations.
  face-coverings.html.                                                           ** https://www.cdc.gov/nchs/nvss/bridged_race.htm.



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hospitalization rates are being published each week at https://                 mellitus. Among 33 females aged 15–49 years hospitalized with
gis.cdc.gov/grasp/covidnet/COVID19_3.html. For each case,                       COVID-19, three (9.1%) were pregnant. Among 167 patients
trained surveillance officers conduct medical chart abstractions                with available data, the median interval from symptom onset to
using a standard case report form to collect data on patient                    admission was 7 days (interquartile range [IQR] = 3–9 days).
characteristics, underlying medical conditions, clinical course,                The most common signs and symptoms at admission included
and outcomes. Chart reviews are finalized once patients have a                  cough (86.1%), fever or chills (85.0%), and shortness of breath
discharge disposition. COVID-NET surveillance was initiated                     (80.0%). Gastrointestinal symptoms were also common;
on March 23, 2020, with retrospective case identification of                    26.7% had diarrhea, and 24.4% had nausea or vomiting.
patients admitted during March 1–22, 2020, and prospective
                                                                                                           Discussion
case identification during March 23–30, 2020. Clinical data
on underlying conditions and symptoms at admission are                             During March 1–28, 2020, the overall laboratory-confirmed
presented through March 30; hospitalization rates are updated                   COVID-19–associated hospitalization rate was 4.6 per 100,000
weekly and, therefore, are presented through March 28 (epi-                     population; rates increased with age, with the highest rates among
demiologic week 13).                                                            adults aged ≥65 years. Approximately 90% of hospitalized patients
   The COVID-19–associated hospitalization rate among                           identified through COVID-NET had one or more underlying
patients identified through COVID-NET for the 4-week                            conditions, the most common being obesity, hypertension,
period ending March 28, 2020, was 4.6 per 100,000 popula-                       chronic lung disease, diabetes mellitus, and cardiovascular disease.
tion (Figure 1). Hospitalization rates increased with age, with                    Using the existing infrastructure of two respiratory virus
a rate of 0.3 in persons aged 0–4 years, 0.1 in those aged                      surveillance platforms, COVID-NET was implemented to
5–17 years, 2.5 in those aged 18–49 years, 7.4 in those aged                    produce robust, weekly, age-stratified hospitalization rates
50–64 years, and 13.8 in those aged ≥65 years. Rates were                       using standardized data collection methods. These data are
highest among persons aged ≥65 years, ranging from 12.2                         being used, along with data from other surveillance platforms
in those aged 65–74 years to 17.2 in those aged ≥85 years.                      (https://www.cdc.gov/coronavirus/2019-ncov/covid-data/
More than half (805; 54.4%) of hospitalizations occurred                        covidview.html), to monitor COVID-19 disease activity and
among men; COVID-19-associated hospitalization rates were                       severity in the United States. During the first month of surveil-
higher among males than among females (5.1 versus 4.1 per                       lance, COVID-NET hospitalization rates ranged from 0.1 per
100,000 population). Among the 1,482 laboratory-confirmed                       100,000 population in persons aged 5–17 years to 17.2 per
COVID-19–associated hospitalizations reported through                           100,000 population in adults aged ≥85 years, whereas cumula-
COVID-NET, six (0.4%) each were patients aged 0–4 years                         tive influenza hospitalization rates during the first 4 weeks of
and 5–17 years, 366 (24.7%) were aged 18–49 years, 461                          each influenza season (epidemiologic weeks 40–43) over the
(31.1%) were aged 50–64 years, and 643 (43.4%) were aged                        past 5 seasons have ranged from 0.1 in persons aged 5–17 years
≥65 years. Among patients with race/ethnicity data (580),                       to 2.2–5.4 in adults aged ≥85 years (6). COVID-NET rates
261 (45.0%) were non-Hispanic white (white), 192 (33.1%)                        during this first 4-week period of surveillance are preliminary
were non-Hispanic black (black), 47 (8.1%) were Hispanic, 32                    and should be interpreted with caution; given the rapidly evolv-
(5.5%) were Asian, two (0.3%) were American Indian/Alaskan                      ing nature of the COVID-19 pandemic, rates are expected to
Native, and 46 (7.9%) were of other or unknown race. Rates                      increase as additional cases are identified and as SARS-CoV-2
varied widely by COVID-NET surveillance site (Figure 2).                        testing capacity in the United States increases.
   During March 1–30, underlying medical conditions and                            In the COVID-NET catchment population, approxi-
symptoms at admission were reported through COVID-NET                           mately 49% of residents are male and 51% of residents are
for approximately 180 (12.1%) hospitalized adults (Table);                      female, whereas 54% of COVID-19-associated hospitaliza-
89.3% had one or more underlying conditions. The most com-                      tions occurred in males and 46% occurred in females. These
monly reported were hypertension (49.7%), obesity (48.3%),                      data suggest that males may be disproportionately affected
chronic lung disease (34.6%), diabetes mellitus (28.3%),                        by COVID-19 compared with females. Similarly, in the
and cardiovascular disease (27.8%). Among patients aged                         COVID-NET catchment population, approximately 59%
18–49 years, obesity was the most prevalent underlying condi-                   of residents are white, 18% are black, and 14% are Hispanic;
tion, followed by chronic lung disease (primarily asthma) and                   however, among 580 hospitalized COVID-19 patients with
diabetes mellitus. Among patients aged 50–64 years, obesity                     race/ethnicity data, approximately 45% were white, 33% were
was most prevalent, followed by hypertension and diabetes                       black, and 8% were Hispanic, suggesting that black popula-
mellitus; and among those aged ≥65 years, hypertension was                      tions might be disproportionately affected by COVID-19.
most prevalent, followed by cardiovascular disease and diabetes                 These findings, including the potential impact of both sex and


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race on COVID-19-associated hospitalization rates, need to                                  across age groups = 40%–43%) (8). Among hospitalized
be confirmed with additional data.                                                          COVID-19 patients, hypertension prevalence was 50% (range
   Most of the hospitalized patients had underlying condi-                                  across age groups = 18%–73%), and obesity prevalence was
tions, some of which are recognized to be associated with                                   48% (range across age groups = 41%–59%). In addition,
severe COVID-19 disease, including chronic lung disease,                                    the prevalences of several underlying conditions identified
cardiovascular disease, diabetes mellitus (5). COVID-NET                                    through COVID-NET were similar to those for hospitalized
does not collect data on nonhospitalized patients; thus, it was                             influenza patients identified through FluSurv-NET during
not possible to compare the prevalence of underlying condi-                                 influenza seasons 2014–15 through 2018–19: 41%–51% of
tions in hospitalized versus nonhospitalized patients. Many of                              patients had cardiovascular disease (excluding hypertension),
the documented underlying conditions among hospitalized                                     39%–45% had chronic metabolic disease, 33%–40% had
COVID-19 patients are highly prevalent in the United States.                                obesity, and 29%–31% had chronic lung disease (6). Data
According to data from the National Health and Nutrition                                    on hypertension are not collected by FluSurv-NET. Among
Examination Survey, hypertension prevalence among U.S.                                      women aged 15–49 years hospitalized with COVID-19 and
adults is 29% overall, ranging from 7.5%–63% across age                                     identified through COVID-NET, 9% were pregnant, which
groups (7), and age-adjusted obesity prevalence is 42% (range                               is similar to an estimated 9.9% of the general population

FIGURE 1. Laboratory-confirmed coronavirus disease 2019 (COVID-19)–associated hospitalization rates,* by age group — COVID-NET, 14 states,†
March 1–28, 2020
                         18


                         16


                         14


                         12
Per 100,000 population




                         10


                          8


                          6


                          4


                          2


                          0
                              0–4           5–17          18–49        50–64       65–74         75–84           ≥85                          All            ≥65
                                                                                      Age group (yrs)
Abbreviation: COVID-NET = Coronavirus Disease 2019–Associated Hospitalization Surveillance Network.
* Number of patients hospitalized with COVID-19 per 100,000 population.
† Counties included in COVID-NET surveillance: California (Alameda, Contra Costa, and San Francisco counties); Colorado (Adams, Arapahoe, Denver, Douglas, and
  Jefferson counties); Connecticut (New Haven and Middlesex counties); Georgia (Clayton, Cobb, DeKalb, Douglas, Fulton, Gwinnett, Newton, and Rockdale counties);
  Iowa (one county represented); Maryland (Allegany, Anne Arundel, Baltimore, Baltimore City, Calvert, Caroline, Carroll, Cecil, Charles, Dorchester, Frederick, Garrett,
  Harford, Howard, Kent, Montgomery, Prince George’s, Queen Anne’s, St. Mary’s, Somerset, Talbot, Washington, Wicomico, and Worcester counties); Michigan (Clinton,
  Eaton, Genesee, Ingham, and Washtenaw counties); Minnesota (Anoka, Carver, Dakota, Hennepin, Ramsey, Scott, and Washington counties); New Mexico (Bernalillo,
  Chaves, Dona Ana, Grant, Luna, San Juan, and Santa Fe counties); New York (Albany, Columbia, Genesee, Greene, Livingston, Monroe, Montgomery, Ontario, Orleans,
  Rensselaer, Saratoga, Schenectady, Schoharie, Wayne, and Yates counties); Ohio (Delaware, Fairfield, Franklin, Hocking, Licking, Madison, Morrow, Perry, Pickaway
  and Union counties); Oregon (Clackamas, Multnomah, and Washington counties); Tennessee (Cheatham, Davidson, Dickson, Robertson, Rutherford, Sumner,
  Williamson, and Wilson counties); and Utah (Salt Lake County).



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FIGURE 2. Laboratory-confirmed coronavirus disease 2019 (COVID-19)–associated hospitalization rates,* by surveillance site†— COVID-NET,
14 states, March 1–28, 2020
                          18

                          16

                          14
 Per 100,000 population




                          12

                          10

                           8

                           6

                           4

                           2

                           0
                               Connecticut          New York              Tennessee              Utah               California             Iowa                 Colorado
                                         Michigan              Maryland               Georgia            Minnesota           New Mexico            Oregon                  Ohio

                                                                                                Surveillance site
Abbreviation: COVID-NET = Coronavirus Disease 2019–Associated Hospitalization Surveillance Network.
* Number of patients hospitalized with COVID-19 per 100,000 population.
† Counties included in COVID-NET surveillance: California (Alameda, Contra Costa, and San Francisco counties); Colorado (Adams, Arapahoe, Denver, Douglas, and
  Jefferson counties); Connecticut (New Haven and Middlesex counties); Georgia (Clayton, Cobb, DeKalb, Douglas, Fulton, Gwinnett, Newton, and Rockdale counties);
  Iowa (one county represented); Maryland (Allegany, Anne Arundel, Baltimore, Baltimore City, Calvert, Caroline, Carroll, Cecil, Charles, Dorchester, Frederick, Garrett,
  Harford, Howard, Kent, Montgomery, Prince George’s, Queen Anne’s, St. Mary’s, Somerset, Talbot, Washington, Wicomico, and Worcester counties); Michigan (Clinton,
  Eaton, Genesee, Ingham, and Washtenaw counties); Minnesota (Anoka, Carver, Dakota, Hennepin, Ramsey, Scott, and Washington counties); New Mexico (Bernalillo,
  Chaves, Dona Ana, Grant, Luna, San Juan, and Santa Fe counties); New York (Albany, Columbia, Genesee, Greene, Livingston, Monroe, Montgomery, Ontario, Orleans,
  Rensselaer, Saratoga, Schenectady, Schoharie, Wayne, and Yates counties); Ohio (Delaware, Fairfield, Franklin, Hocking, Licking, Madison, Morrow, Perry, Pickaway
  and Union counties); Oregon (Clackamas, Multnomah, and Washington counties); Tennessee (Cheatham, Davidson, Dickson, Robertson, Rutherford, Sumner,
  Williamson, and Wilson counties); and Utah (Salt Lake County).

of women aged 15–44 years who are pregnant at any given                                                 identified through COVID-NET is performed at the discre-
time based on 2010 data.†† Similar to other reports from the                                            tion of treating health care providers, and testing practices and
United States (9) and China (1), these findings indicate that a                                         capabilities might vary widely across providers and facilities. As
high proportion of U.S. patients hospitalized with COVID-19                                             a result, underascertainment of cases in COVID-NET is likely.
are older and have underlying medical conditions.                                                       Additional data on testing practices related to SARS-CoV-2 will
   The findings in this report are subject to at least three limita-                                    be collected in the future to account for underascertainment
tions. First, hospitalization rates by age and COVID-NET site                                           using described methods (10).
are preliminary and might change as additional cases are identi-                                           Early data from COVID-NET suggest that COVID-19–
fied from this surveillance period. Second, whereas minimum                                             associated hospitalizations in the United States are highest
case data to produce weekly age-stratified hospitalization rates                                        among older adults, and nearly 90% of persons hospitalized
are usually available within 7 days of case identification, avail-                                      have one or more underlying medical conditions. These
ability of detailed clinical data are delayed because of the need                                       findings underscore the importance of preventive measures
for medical chart abstractions. As of March 30, chart abstrac-                                          (e.g., social distancing, respiratory hygiene, and wearing face
tions had been conducted for approximately 200 COVID-19                                                 coverings in public settings where social distancing measures
patients; the frequency and distribution of underlying condi-                                           are difficult to maintain) to protect older adults and persons
tions during this time might change as additional data become                                           with underlying medical conditions. Ongoing monitoring of
available. Clinical course and outcomes will be presented once                                          hospitalization rates, clinical characteristics, and outcomes of
the number of cases with complete medical chart abstractions                                            hospitalized patients will be important to better understand
are sufficient; many patients are still hospitalized at the time                                        the evolving epidemiology of COVID-19 in the United States
of this report. Finally, testing for SARS-CoV-2 among patients                                          and the clinical spectrum of disease, and to help guide planning
                                                                                                        and prioritization of health care system resources.
††          https://www.cdc.gov/nchs/data/hestat/pregnancy/2010_pregnancy_rates.htm.



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TABLE. Underlying conditions and symptoms among adults aged ≥18 years with coronavirus disease 2019 (COVID-19)–associated hospitalizations —
COVID-NET, 14 states,* March 1–30, 2020†
                                                                                                 Age group (yrs), no./total no. (%)
Underlying condition                                                 Overall                     18–49                       50–64                    ≥65 years
Any underlying condition                                         159/178 (89.3)               41/48 (85.4)                51/59 (86.4)               67/71 (94.4)
Hypertension                                                      79/159 (49.7)                7/40 (17.5)                27/57 (47.4)               45/62 (72.6)
Obesity§                                                          73/151 (48.3)               23/39 (59.0)                25/51 (49.0)               25/61 (41.0)
Chronic metabolic disease¶                                        60/166 (36.1)               10/46 (21.7)                21/56 (37.5)               29/64 (45.3)
 Diabetes mellitus                                                47/166 (28.3)                9/46 (19.6)                18/56 (32.1)               20/64 (31.3)
Chronic lung disease                                              55/159 (34.6)               16/44 (36.4)                15/53 (28.3)               24/62 (38.7)
 Asthma                                                           27/159 (17.0)               12/44 (27.3)                 7/53 (13.2)                8/62 (12.9)
 Chronic obstructive pulmonary disease                            17/159 (10.7)                 0/44 (0.0)                  3/53 (5.7)               14/62 (22.6)
Cardiovascular disease**                                          45/162 (27.8)                 2/43 (4.7)                11/56 (19.6)               32/63 (50.8)
 Coronary artery disease                                          23/162 (14.2)                 0/43 (0.0)                 7/56 (12.5)               16/63 (25.4)
 Congestive heart failure                                          11/162 (6.8)                 2/43 (4.7)                  3/56 (5.4)                 6/63 (9.5)
Neurologic disease                                                22/157 (14.0)                 4/42 (9.5)                  4/55 (7.3)               14/60 (23.3)
Renal disease                                                     20/153 (13.1)                 3/41 (7.3)                  2/53 (3.8)               15/59 (25.4)
Immunosuppressive condition                                        15/156 (9.6)                5/43 (11.6)                  4/54 (7.4)                6/59 (10.2)
Gastrointestinal/Liver disease                                     10/152 (6.6)                 4/42 (9.5)                  0/54 (0.0)                6/56 (10.7)
Blood disorder                                                      9/156 (5.8)                 1/43 (2.3)                  1/55 (1.8)                7/58 (12.1)
Rheumatologic/Autoimmune disease                                    3/154 (1.9)                 1/42 (2.4)                  0/54 (0.0)                 2/58 (3.4)
Pregnancy††                                                          3/33 (9.1)                 3/33 (9.1)                       N/A                        N/A
Symptom§§
Cough                                                            155/180 (86.1)               43/47 (91.5)                54/60 (90.0)               58/73 (79.5)
Fever/Chills                                                     153/180 (85.0)               38/47 (80.9)                53/60 (88.3)               62/73 (84.9)
Shortness of breath                                              144/180 (80.0)               40/47 (85.1)                50/60 (83.3)               54/73 (74.0)
Myalgia                                                           62/180 (34.4)               20/47 (42.6)                23/60 (38.3)               19/73 (26.0)
Diarrhea                                                          48/180 (26.7)               10/47 (21.3)                17/60 (28.3)               21/73 (28.8)
Nausea/Vomiting                                                   44/180 (24.4)               12/47 (25.5)                17/60 (28.3)               15/73 (20.5)
Sore throat                                                       32/180 (17.8)                8/47 (17.0)                13/60 (21.7)               11/73 (15.1)
Headache                                                          29/180 (16.1)               10/47 (21.3)                12/60 (20.0)                 7/73 (9.6)
Nasal congestion/Rhinorrhea                                       29/180 (16.1)                8/47 (17.0)                13/60 (21.7)                8/73 (11.0)
Chest pain                                                        27/180 (15.0)                9/47 (19.1)                13/60 (21.7)                 5/73 (6.8)
Abdominal pain                                                     15/180 (8.3)                6/47 (12.8)                 6/60 (10.0)                 3/73 (4.1)
Wheezing                                                           12/180 (6.7)                 3/47 (6.4)                  2/60 (3.3)                 7/73 (9.6)
Altered mental status/Confusion                                    11/180 (6.1)                 3/47 (6.4)                  2/60 (3.3)                 6/73 (8.2)
Abbreviations: COVID-NET = Coronavirus Disease 2019–Associated Hospitalization Surveillance Network; N/A = not applicable.
 * Counties included in COVID-NET surveillance: California (Alameda, Contra Costa, and San Francisco counties); Colorado (Adams, Arapahoe, Denver, Douglas, and
   Jefferson counties); Connecticut (New Haven and Middlesex counties); Georgia (Clayton, Cobb, DeKalb, Douglas, Fulton, Gwinnett, Newton, and Rockdale counties);
   Iowa (one county represented); Maryland (Allegany, Anne Arundel, Baltimore, Baltimore City, Calvert, Caroline, Carroll, Cecil, Charles, Dorchester, Frederick, Garrett,
   Harford, Howard, Kent, Montgomery, Prince George’s, Queen Anne’s, St. Mary’s, Somerset, Talbot, Washington, Wicomico, and Worcester counties); Michigan (Clinton,
   Eaton, Genesee, Ingham, and Washtenaw counties); Minnesota (Anoka, Carver, Dakota, Hennepin, Ramsey, Scott, and Washington counties); New Mexico (Bernalillo,
   Chaves, Dona Ana, Grant, Luna, San Juan, and Santa Fe counties); New York (Albany, Columbia, Genesee, Greene, Livingston, Monroe, Montgomery, Ontario, Orleans,
   Rensselaer, Saratoga, Schenectady, Schoharie, Wayne, and Yates counties); Ohio (Delaware, Fairfield, Franklin, Hocking, Licking, Madison, Morrow, Perry, Pickaway
   and Union counties); Oregon (Clackamas, Multnomah, and Washington counties); Tennessee (Cheatham, Davidson, Dickson, Robertson, Rutherford, Sumner,
   Williamson, and Wilson counties); and Utah (Salt Lake County).
 † COVID-NET included data for one child aged 5–17 years with underlying medical conditions and symptoms at admission; data for this child are not included in
   this table. This child was reported to have chronic lung disease (asthma). Symptoms included fever, cough, gastrointestinal symptoms, shortness of breath, chest
   pain, and a sore throat on admission.
 § Obesity is defined as calculated body mass index (BMI) ≥30 kg/m2, and if BMI is missing, by International Classification of Diseases discharge diagnosis codes.
   Among 73 patients with obesity, 51 (69.9%) had obesity defined as BMI 30–<40 kg/m2, and 22 (30.1%) had severe obesity defined as BMI ≥40 kg/m2.
 ¶ Among the 60 patients with chronic metabolic disease, 45 had diabetes mellitus only, 13 had thyroid dysfunction only, and two had diabetes mellitus and
   thyroid dysfunction.
** Cardiovascular disease excludes hypertension.
†† Restricted to women aged 15–49 years.
§§ Symptoms were collected through review of admission history and physical exam notes in the medical record and might be determined by subjective or objective
   findings. In addition to the symptoms in the table, the following less commonly reported symptoms were also noted for adults with information on symptoms (180):
   hemoptysis/bloody sputum (2.2%), rash (1.1%), conjunctivitis (0.6%), and seizure (0.6%).

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                                                                                  1CDC COVID-NET Team; 2Eagle Global Scientific, Atlanta, Georgia;
   Summary                                                                        3Chickasaw Nation Industries, Norman, Oklahoma; 4Oak Ridge Institute for
   What is already known about this topic?                                        Science and Education, Oak Ridge, Tennessee; 5California Emerging Infections
                                                                                  Program, Oakland, California; 6Communicable Disease Branch, Colorado
   Population-based rates of laboratory-confirmed coronavirus
                                                                                  Department of Public Health and Environment, Denver, Colorado;
   disease 2019 (COVID-19)–associated hospitalizations are lacking                7Connecticut Emerging Infections Program, Yale School of Public Health, New
   in the United States.                                                          Haven, Connecticut; 8Departments of Medicine and Pediatrics, Emory
   What is added by this report?                                                  University School of Medicine, Atlanta, Georgia; 9Emerging Infections
                                                                                  Program, Georgia Department of Health, Atlanta, Georgia; 10Veterans Affairs
   COVID-NET was implemented to produce robust, weekly,                           Medical Center, Atlanta, Georgia; 11Foundation for Atlanta Veterans Education
   age-stratified COVID-19–associated hospitalization rates.                      and Research, Decatur, Georgia; 12Iowa Department of Public Health;
                                                                                  13Maryland Department of Health; 14Communicable Disease Division,
   Hospitalization rates increase with age and are highest among
   older adults; the majority of hospitalized patients have                       Michigan Department of Health and Human Services, Lansing, Michigan;
                                                                                  15Minnesota Department of Health; 16New Mexico Department of Health;
   underlying conditions.                                                         17New York State Department of Health; 18University of Rochester School of
   What are the implications for public health practice?                          Medicine and Dentistry, Rochester, New York; 19Bureau of Infectious Diseases,
                                                                                  Ohio Department of Health, Columbus, Ohio; 20Oregon Public Health
   Strategies to prevent COVID-19, including social distancing,                   Division; 21Division of Infectious Disease, Vanderbilt University School of
   respiratory hygiene, and face coverings in public settings where               Medicine, Nashville, Tennessee; 22Salt Lake County Health Department, Salt
   social distancing measures are difficult to maintain, are                      Lake City, Utah.
   particularly important to protect older adults and those with
   underlying conditions. Ongoing monitoring of hospitalization                    All authors have completed and submitted the International
   rates is critical to understanding the evolving epidemiology of              Committee of Medical Journal Editors form for disclosure of
   COVID-19 in the United States and to guide planning and                      potential conflicts of interest. Linda Niccolai reports personal fees
   prioritization of health care resources.                                     from Merck outside the submitted work; Evan Anderson reports
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                                                                                Regeneron, PaxVax, Pfizer, GSK, Merck, Novavax, Sanofi-Pasteur,
Jim Collins, Kimberly Fox, Sam Hawkins, Shannon Johnson, Libby
                                                                                and Micron, outside the submitted work; Andrew Weigel reports
Reeg, Michigan Department of Health and Human Services; Erica
                                                                                grants from the Council of State and Territorial Epidemiologists
Bye, Richard Danila, Kristen Ehresmann, Melissa McMahon, Kirk
                                                                                during the conduct of the study; Ruth Lynfield reports that she
Smith, Maureen Sullivan, Minnesota Department of Health; Cory
                                                                                is the coeditor for a book on public health and an associate editor
Cline, New Mexico Department of Health; Kathy Angeles, Lisa
                                                                                for American Academy of Pediatrics Report of the Committee of
Butler, Emily Hancock, Sarah Khanlian, Meaghan Novi, University
                                                                                Infectious Diseases (Red Book); Laurie Billing reports a grant from
of New Mexico Emerging Infections Program; Grant Barney, Suzanne
                                                                                the Council of State and Territorial Epidemiologists during the
McGuire, Nancy Spina, New York State Department of Health;
                                                                                conduct of the study; William Schaffner reports personal fees from
Sophrena Bushey, Christina Felsen, Maria Gaitan, RaeAnne Kurtz,
                                                                                Pfizer, Roche Diagnostics, and Pepsico outside the submitted work;
Christine Long, Marissa Tracy, University of Rochester School of
                                                                                H. Keipp Talbot reports compensation from Seqiris outside the
Medicine and Dentistry; Nicholas Fisher, Maya Scullin, Jessica
                                                                                submitted work; Andrea George reports a grant from the Council
Shiltz, Ohio Department of Health; Kathy Billings, Katie Dyer,
                                                                                of State and Territorial Epidemiologists during the conduct of
Anise Elie, Karen Leib, Tiffanie Markus, Terri McMinn, Danielle
                                                                                the study; Sue Kim reports a grant from the Council of State and
Ndi, Vanderbilt University Medical Center; Ryan Chatelain, Mary
                                                                                Territorial Epidemiologists during the conduct of the study; Justin
Hill, Jake Ortega, Andrea Price, Ilene Risk, Melanie Spencer, Ashley
                                                                                Henderson reports a grant from the Council of State and Territorial
Swain, Salt Lake County Health Department; Keegan McCaffrey,
                                                                                Epidemiologists during the conduct of the study; and Clarissa
Utah Department of Health; Mimi Huynh and Monica Schroeder,
                                                                                Aquino reports a grant from the Council of State and Territorial
Council of State and Territorial Epidemiologists; Sharad Aggarwal,
                                                                                Epidemiologists during the conduct of the study. No other potential
Lanson Broecker, Aaron Curns, Rebecca M. Dahl, Sascha R.
                                                                                conflicts of interest were disclosed.
Ellington, Alexandra Ganim, Rainy Henry, Sang Kang, Sonja Nti-
Berko, Robert Pinner, Scott Santibanez, Alvin Shultz, Sheng-Te Tsai,
Henry Walke, Venkata Akesh R. Vundi, CDC.
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                 EXHIBIT 41
5/11/2020                                   Mobile ID Locations
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                                                                       Filed        of State Page 13 of 16
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                Alabama Secretary of State                                                                    

                                                                Alabama Votes
                          FAQ         Voters        Candidates           PACs   Public & Media   Contact Us




Mobile ID Locations
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    You may obtain a free Alabama photo voter ID card at one of the following
    locations:

    The Secretary of State's Of ce
    600 Dexter Avenue
    Montgomery, Alabama 36130

    Board of Registrars of ces
    Located in each county. List of county BOR Of ces



    Mobile Unit Locations

    We are currently working to schedule future events.


     Alabama Directory - Online Services - Alabama.gov - Statements & Policies - Feeds -
                                           Contact Us

            P.O. Box 5616 Montgomery, AL 36103-5616 - Phone: (334) 242-7200 - Fax: (334) 242-4993




https://www.sos.alabama.gov/alabama-votes/photo-voter-id/mobile-id-locations                                      1/1
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                 EXHIBIT 42
5/11/2020                            Secretary of State's
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                                                   Document            down curbside
                                                                    16-41      Filedvoting in Hale County
                                                                                      05/13/20        Page| WBMA
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                                                                                                         59 °   77 °     83 °
                                          WATCH




   Secretary
   Search Site of State's office shuts down curbside voting in Hale County

   by Ainsley Allison
   Tuesday, November 8th 2016                                                                                                   A
                                                                                                                                A




   Secretary of State's o ce shuts down curbside voting in Hale County (abc3340.com)




   HALE COUNTY, Ala. — A polling place in Hale County was o ering curbside voting Tuesday morning,
   until the Secretary of State's o ce found out about it, ABC 33/40 has learned.


   Secretary of State John Merrill told ABC 33/40 said he rst heard of the voting irregularities via text
   message. He called his o ce to follow up and was told they were already investigating.


   Merrill said a local judge admitted this was a practice that had been o ered before in Hale County.
   Poll workers assisted handicapped voters by bringing ballots to voters in their cars. Merrill's o ce
   informed the judge the practice was illegal and ordered poll workers cease and desist immediately.
   They complied. Merrill said no polling place was shut down.



https://abc3340.com/news/election/secretary-of-states-office-shuts-down-curbside-voting-in-hale-county                              1/2
5/11/2020                           Secretary of State's
                Case 2:20-cv-00619-AKK                   office shuts
                                                  Document            down curbside
                                                                   16-41      Filedvoting in Hale County
                                                                                     05/13/20        Page| WBMA
                                                                                                             16 of 16
   Merrill said curbside voting is allowed in some states, but Alabama is not                 °
                                                                                                   one of them.
                                                                                                             °
                                                                                                                   He said
                                                                                                                       °
                                                                                                                           he
                                                                                                         59   77            83
     rst learned of the practice at a meeting over the summer.
                               WATCH




   Search Site
   MORE TO EXPLORE
   Tracking map for Alabama COVID-19 outbreak launched




   Target, Walmart, Costco ordered to stop in-person sales of nonessential items




   Alabama now projected to have sixteenth highest rate of COVID-19 fatalities in nation




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   The CDC Recommends Protective Cloth Masks
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https://abc3340.com/news/election/secretary-of-states-office-shuts-down-curbside-voting-in-hale-county                                     2/2
